UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

DONNA LOU and DAREN PARSA, on their
own behalf and on behalf of their
deceased minor child, E.P.
Plaintiffs CIVIL ACTION NO. 2:21-ev—-00080

Vv

SHERIFF JOSEPH P. LOPINTO, III, CHAD
PITFIELD, RYAN VAUGHT, STEVEN
MEHRTENS, SHANNON GUIDRY, NICK
VEGA, MANUEL ESTRADA, MYRON
GAUDET, JOHN DOES 1-3, VICTORY
REAL ESTATE INVESTMENTS LA, LLC
and WESTGATE INVESTORS NO LLC
D/B/A WESTGATE SHOPPING CENTER,
ABC INSURANCE COMPANY, and XYZ
INSURANCE COMPANY

Defendants

30 (b} (6) DEPOSITION OF VICTORY REAL ESTATE
INVESTMENTS LA, LLC and WESTGATE INVESTORS NO
LLC D/B/A WESTGATE SHOPPING CENTER, through its
designated representative, GINA CHRISTOPHER,
given in the above-entitled cause, pursuant to
the following stipulation, before Raynel E.
Schule, Certified Shorthand Reporter in and for
the State of Louisiana, at the Law Offices of
Thompson, Coe, Cousins & Irons, 601 Poydras
Street, Suite 1850, New Orleans, Louisiana,
7OL130, commencing at 10:00 otelock a.m., on

Wednesday, the 6th day of July, 2022.

SOUTHERN COURT REPORTERS, INC.
(504) 488-1112

EXHIBIT 1

oOo SS mm OO Se Ww Bw FP

25

MR. CLARKE:

Well, I understand. I got to
understand what numbers she had.
You've got -- you'll have your time

to take depositions.

BY MR. CLARKE:

CO.

All right. Now, so you had the right to
select the times and to confine the
location to the Westgate Mall, correct?

Correct.

All right. Did you have any policies or
any type of -- any type of rules or
regulations that the security -- that the
security detail had to comply with?

No, we did not write policy for them.

Okay. Did you have any policy -- you know,
are there any -- now, explain to me, did
you give them any equipment, any type of
tools to perform their job?

They have a cell phone which is stored
during off-duty hours in the Academy
Sports. Each officer picks it up prior to
their shift, and the tenants have that --
that phone number.

Okay. So if somebody was scheduled to work

SOUTHERN COURT REPORTERS, INC.
(504) 488-1112

EXHIBIT 1

oOo SS mm OO Se Ww Bw FP

26

tomorrow at 4:00, they go to Academy Sports
at 4:00 o'fclock; they go in; they get the
-- the assigned cell phone that everybody
knows, all the tenants know the number,
correct?

Yes.

All right. Did you require security -- the
security detail to write any type of
reports?

No.

All right. I mean, were they not supposed
to notify you of incidents that occurred on
the premises?

They notified us of anything that was
mayor, but nothing -- we didn't keep up
with reports.

Okay. I mean, but did you even require
them?

No.

Okay. Did you have regular or any type of
regularly scheduled meetings with Mr.
Canatella about the security needs of the
Westgate Mall?

No.

Okay. Now, I think we have the invoices

SOUTHERN COURT REPORTERS, INC.
(504) 488-1112

EXHIBIT 1

oOo SS mm OO Se Ww Bw FP

30

OC OO -

O.

All right. Never received a security plan
or proposal from Canatella?

No.

Never had one performed yourself?

No.

We went over the schedule of security as
split -- split on the weekends and from
8:00 -- what -- what is the schedule during
the week again?

Usually it is 4:00 to 10:00. Sometimes it
varies when school is out. It just depends
on what we have going on.

Right. For example --

But as a whole, it's mostly 4:00 to 10:00.
All right. Now, does Victory or Westgate
have the ability to cancel or terminate the

security officers?

Not. the officers. It would be the contract
with --

But. there's no --

-- JSO. I mean, it 18 -- whatever we set
up with them. I could call Donald and say,
we no longer want police officers to do the
security, that was would end it for us.

Right, but what I'm saying is, you could

SOUTHERN COURT REPORTERS, INC.
(504) 488-1112

EXHIBIT 1

oOo SS mm OO Se Ww Bw FP

36

meeting and an understanding as to what
they were supposed to do, correct?
MR. HILL:
Object to the form. Outside the
scope of the Notice.

BY MR. CLARKE:

O. Well, let's just go for the last five
years. In the last five years, was there
an agreement or understanding between the
Victory and Westgate and Mr. Canatella
about what was to be done?

MR. HILL:
Object to form.
You can answer.
THE WITNESS:
Yes .

BY MR. CLARKE:

1 And -- and it -- and what -- what was to be
done was to have an officer present on the
parking Lot for specified periods of time
to where they were protecting the patrons
and the tenants of the Westgate Shopping
Center, correct?

MR. HILL:

Ob eck Ea form.

SOUTHERN COURT REPORTERS, INC.
(504) 488-1112

EXHIBIT 1

oOo SS mm OO Se Ww Bw FP

37

MR. ZIBILICH:

I'm going to object to the form
Loo.

You can answer.

THE WITNESS:

Yes .
BY MR. CLARKE:
Os. Do you still schedule Chad Pitfield?
A. I don't schedule any of the officers.

©. Does Chad Pitfield still provide services

at Westgate Mall?

A. No.

Ce. Okay. Did that stop at a period of time?

Bo VES.

i, And when did it stop?

A. Months ago.

Oo. Was it on the --

A. I don't remember the exact date. I'd have
to go back and look at the last time we had
an invoice from him.

GS Okay. Well, if you look at "Exhibit No. 7"

A. IT think that it was after this.

MR. 4ZIBILICH:

When you say, “after this," you

SOUTHERN COURT REPORTERS, INC.
(504) 488-1112

EXHIBIT 1

oOo SS mm OO Se Ww Bw FP

43

Oo Ff OO fF ©

services.

Do you know if Donald Canatella has a -- a
security license?

IT do not.

Are any other -- and how was that decision
made to allow Mr. Canatella to continue
providing security services after he
retired?

My understanding from him is that he still
is -- he still is part of the off-duty
program, so he still uses a car, equipment,
uniform. So under those circumstances, we
still allowed him to stay and continue --
Okay, and that --

-- after he retired.

Okay, and were the officers, another
requirement of the security detail is that
they come in a police car?

That was what was established by the
previous owner.

Rront.

So yes.

And you continued that?

Correct.

And they would be in police uniforms?

SOUTHERN COURT REPORTERS, INC.
(504) 488-1112

EXHIBIT 1

oOo SS mm OO Se Ww Bw FP

44

A. Correct.
Q. Would they have -- did you want them to be
armed or did you have any discussion of
what type of weapons or what type of uses
of force they'd be allowed to use?

MR. ZIBILICH:

What uses of force they would be
allowed to use per her permission is
the question?

MR. CLARKE:

Racin.

MR. ZIBILICH:

Go ahead.

THE WITNESS:

I expected them to continue to
maintain the property just as they
did when they were an on-duty police
officer.

BY MR. CLARKE:

QO. Okay.

A. Seo if a gun was part of their uniform, then
I -- they had a gun.

O. Okay. You wanted a police presence on the
property?

A. Correct.

SOUTHERN COURT REPORTERS, INC.
(504) 488-1112

EXHIBIT 1

oOo SS mm OO Se Ww Bw FP

45

Q.

Right. Have you ever -- has -- have you
ever in the past five years informed Mr.
Canatella that -- or sent any security --
any -- any officer who provided security
detail home?

No.

Have you ever had any complaints about any
of the security detail?

No.

And I think that's in your discovery
responses. All right. Is the only person
with -- you know, with -- with providing
security at Westgate that you communicated
with directly Mr. Canatella?

Yes.

So you never had any discussion with
Pitfield or anybody else?

No.

That's all I have.

EXAMINATION

BY MR. AIBILICH:

ce,

You can leave it right there. Have you
been satisfied with the performance of the
Jefferson Parish Sheriff's Office detail

officers during the last five years?

SOUTHERN COURT REPORTERS, INC.
(504) 488-1112

EXHIBIT 1

